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         IN THE UNITED STATES DISTRICT COURT
       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Mary Conway,                         Docket 3:19-cv-01163-JPW-KM
    Plaintiff
                                     (MAGISTRATE JUDGE
v.                                   KAROLINE MEHALCHICK)

RGS Financial, Inc.,
    Defendant                        FILED ELECTRONICALLY

                  STIPULATION OF DISMISSAL

     Please dismiss this action without costs and without prejudice.



s/ Brett M. Freeman                  s/ Justin M. Tuskan (with consent)
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